246 F.3d 1303 (11th Cir. 2001)
    Mollie BONNER, Sara J. Douglas, Plaintiffs-Appellants,v.MOBILE ENERGY SERVICES COMPANY, L.L.C., an affiliate of the Southern Company, Southern Energy, Inc.-Mobile Energy Services Company, Southern Energy Resources, Inc., Defendants-Appellees.
    No. 00-12495.
    United States Court of Appeals,Eleventh Circuit.
    April 4, 2001.April 16, 2001.
    
      Appeal from the United States District Court for the Southern District of  Alabama. (No. 97-01192.CV-BH-S), William B. Hand. Judge.
      Before TJOFLAT, BARKETT and POLITZ*, Circuit Judges.
      PER CURIAM:
    
    
      1
      Mollie Bonner and Sara J. Douglas appeal the adverse award of attorney's fees in  their failed Title VII discrimination action. Our review of the record persuades  that a reversal is in order.
    
    
      2
      Bonner and Douglas originally sued alleging claims under Title VII of the Civil  Rights Act of 1964,1 the Age Discrimination in Employment Act,2 and the Employee  Retirement Income Security Act.3 The facts of this litigation are set forth in  great detail in the trial court's March 31, 1999, opinion granting summary  judgment on all claims to the defendants. They need not be here repeated. After  entry of said judgment the appellees petitioned for attorney's fees and  expenses. The trial court granted same but only with respect to the Title VII  claims.4 Bonner and Douglas timely appealed. We review for abuse of discretion.5
    
    
      3
      A district court may award attorney's fees to the prevailing Title VII defendant  when it determines that "the plaintiff's action was frivolous, unreasonable, or  without foundation, even though not brought in subjective bad faith,"6 a  standard the Supreme Court has described as "stringent."7 In deciding whether an  action is so lacking in merit as to justify awarding attorney's fees to the  prevailing defendant, the trial court is to consider the denominated Sullivan  factors, i.e., whether (1) the plaintiff established a prima facie case; (2) the  defendant offered to settle; and (3) the trial court dismissed the case prior to  trial.8
    
    
      4
      In its opinion granting fees on the Title VII claim the trial court noted the  prescribed Sullivan analysis, but apparently then unduly relied upon our comment  therein that "[c]ases where findings of 'frivolity' have been sustained  typically have been decided in the defendant's favor on a motion for summary  judgment ... [where] the plaintiffs did not introduce any evidence to support  their claims."9 The trial court found that Bonner and Douglas had abandoned  their claim of racial discrimination when opposing summary judgment, and had  adduced no admissible evidence in support of their claim of gender  discrimination. The court reasoned that this lack of admissible evidence should  have been apparent to Bonner and Douglas, but nonetheless they apparently  wrongfully continued to maintain their gender discrimination claim.
    
    
      5
      The record fully supports the trial court's grant of summary judgment to the  defendants. We are not convinced, however, that the action was so "patently  devoid of merit as to be frivolous."10 The evidence adduced by Bonner and  Douglas was markedly weak, but the district court assumed that they had  established their prima facie case.11 Of particular note, Bonner and Douglas  submitted as evidence a neutral arbitrator's report on their termination  concluding that Mobile Energy Services Company did not act with just cause when  it discharged them. This report does not suggest that Douglas and Bonner were  discharged based upon their gender, but it does establish at least the  foundation of a claim that MESC acted out of ulterior motives. We must also note  that prior to declaring bankruptcy MESC offered Bonner and Douglas $125,000 to  settle their claims, including those arising from the arbitrator's decision. Taken together, we cannot say that Bonner and Douglas were actionably frivolous  or unreasonable in maintaining their gender discrimination claim through the  summary judgment stage. Care must be taken to remain sensitive to the policy  considerations militating against imposing fees on unsuccessful plaintiffs in  discrimination claims which might "discourage all but the most airtight claims"  and "undercut the efforts of Congress to promote the vigorous enforcement  provisions of Title VII."12 Accordingly, we must conclude that awarding the  defendants attorney's fees herein was an abuse of discretion, and the action of  the court in doing so is REVERSED.
    
    
      
        NOTES:
      
      
        *
          Honorable Henry A. Politz, U.S. Circuit Judge for the Fifth Circuit, sitting by  designation.
      
      
        1
          42 U.S.C.  2000e et seq.
      
      
        2
          29 U.S.C.  621 et seq.
      
      
        3
          29 U.S.C.  1001 et seq.
      
      
        4
          Appellees claimed attorney's fees and expenses totaling $72,602.54 for the  defense of all three federal claims. The trial court denied the motion as to the  failed ADEA and ERISA claims, but subsequently awarded Appellees $71,833.04,  nearly 99% of the total amount claimed, as reasonable fees and expenses for the  Title VII claims. Our ruling obviates the necessity to address that anomaly.
      
      
        5
          Turner v. Sungard Business Systems, Inc., 91 F.3d 1418 (11th Cir.1996).
      
      
        6
          Christiansburg Garment Co. v. EEOC, 434 U.S. 412, 98 S.Ct. 694, 54 L.Ed.2d 648  (1978).
      
      
        7
          Hughes v. Rowe, 449 U.S. 5, 101 S.Ct. 173, 66 L.Ed.2d 163 (1980)(adopting the  same "stringent standard" used in Title VII cases to determine when an award of  attorney's fees is appropriate in cases brought under 42 U.S.C.  1983).
      
      
        8
          Sullivan v. School Bd. of Pinellas County, 773 F.2d 1182 (11th Cir.1985).
      
      
        9
          Sullivan, 773 F.2d at 1189. We previously have determined that deciding when  attorney's fees are appropriate must be done on a case-by-case basis, and the  Sullivan factors are only general factors to guide the inquiry. See Walker v.  NationsBank of Florida, N.A., 53 F.3d 1548, 1559 (11th Cir.1995); see also  Sullivan, 773 F.2d at 1189 ("these ... are general guidelines only, not hard and  fast rules."). Sullivan does not create a bright line checklist nor does it  permit of a mechanical application.
      
      
        10
          Sullivan, 773 F.2d at 1189.
      
      
        11
          The district court assumed, without deciding, that the plaintiffs established a  prima facie case on each of their claims, choosing to focus its decision on  their failure to show the asserted reasons for their termination were  pretextual.
      
      
        12
          Christiansburg, 434 U.S. at 421-22, 98 S.Ct. 694.
      
    
    